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            Case 1:18-cv-10356-JGK Document 47 Filed 10/30/19 Page 1 of 1



                                                    LO\VEY DANNENBERG




                                                      October 30, 2019
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Via ECF                                                                                         DOCUMENT
The Honorable John G. Koeltl                                                                    ELECTRONICALLY FILED
Daniel Patrick Moynihan                                                                         DOC#
United States Courthouse                                                                                                    ~q;_--__,zt____==
                                                                                                DATE F~IL___E_D_=.,-;,.-2-r;z..-~
500 Pearl St.
New York, NY 10007-1312

      Re: In re JPMorgan Precious Metals Spoofing Litigation, 18-CV-10356 CTGK) (S.D.N.Y.)

Dear Judge Koeltl:

        Plaintiffs met and conferred with the Department of Justice ("DOJ") and understand that
DOJ plans to file a motion to stay this case indefinitely, pending the resolution of related criminal
matters. 1 Plaintiffs intend to oppose this motion and respectfully request that the Court establish a
briefing schedule that gives the Plaintiffs one week, or until Thursday, November 7, 2019, to
respond to DOJ's motion.                                                      --

        The DOJ has not consented to this schedule request. Plaintiffs consent to an extension of
the current stay while the Court evaluates the DOJ's expected motion.



                                                                        Respectfully submitted,

                                                                        Isl Vincent Briganti
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ECF No. 29. The stay was subsequently extended for an additional five months and is set to expire tomorrow. ECF                ~ ~ S"
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                     44 South Brna<lway. Suite lJOO. White Plains, NY 1060! (p) 9l4·9!n-osoo (f) 9"1-997-0035
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